                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

AMERICAN CASUALTY COMPANY                                     )
OF READING, PENNSYLVANIA and                                  )
CNA CLAIMPLUS, INC.,                                          )
                                                              )
        Plaintiffs,                                           )       Case No. 3:13-cv-0098
                                                              )       Judge Trauger
v.                                                            )
                                                              )
CRESENT ENTERPRISES, INC.,                                    )
                                                              )
        Defendant.                                            )
 

                                              ORDER

        For the reasons set forth in the accompanying Memorandum, the court hereby finds as

follows:

      The defendant’s Motion to Strike the Affidavit of Cynthia Goral (Docket No. 59) is
       DENIED.

      The plaintiffs’ Motion for Summary Judgment (Docket No. 43) is GRANTED.

      The defendant’s counterclaim is DISMISSED WITH PREJUDICE.

      Counts Two and Three of the plaintiffs’ Amended Complaint are DISMISSED WITH
       PREJUDICE.

      It is further ORDERED that judgment shall be entered for the plaintiffs in the amount of
        $84,247.00 in compensatory damages and $13,503.76 in contractual interest, as well as
        attorney’s fees, subject to the court’s review of a declaration to be filed by the plaintiffs
        accounting for their legal costs of collection.

        It is so ORDERED.

        Enter this 28th day of August 2014.

                                                            _______________________________
                                                            ALETA A. TRAUGER
                                                            United States District Judge

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     Case 3:13-cv-00098 Document 82 Filed 08/28/14 Page 1 of 1 PageID #: 2220
